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8                              UNITED STATES DISTRICT COURT
9                             SOUTHERN DISTRICT OF CALIFORNIA
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11    B & L PRODUCTIONS, INC. d/b/a                       Case No.: 3:19-CV-134-CAB-AHG
      CROSSROADS OF THE WEST et al.,
12
                                        Plaintiffs,       DISMISSAL WITH PREJUDICE
13
      v.
14                                                        [Doc. No. 44.]
      22ND DISTRICT AGRICULTURAL
15
      ASSOCIATION et al.,
16                                    Defendants.
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19          Upon consideration of the parties’ joint motion to dismiss this case with prejudice,
20    and good cause appearing, it is hereby ORDERED that the motion is GRANTED. This
21    case is DISMISSED WITH PREJUDICE, with each side to bear their own costs. The
22    Court declines to retain jurisdiction to enforce the terms of the settlement agreement.
23          It is SO ORDERED.
24    Dated: April 30, 2020
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